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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA                 )
                                          )
                v.                        )     1:12-cr-00160-JAW-2
                                          )
 RODNEY W. RUSSELL                        )


   ORDER DENYING DEFENDANT’S MOTION TO VACATE CONVICTION
                 AND MOTION FOR NEW TRIAL

          Following his convictions for a series of federal crimes, the Defendant moves

 to vacate the convictions and for a new trial on the ground that the Court allowed

 evidence of four prior convictions for false statements to be admitted for impeachment

 purposes at trial, and two of those convictions were later overturned on appeal. The

 Court denies the motions because the fact of the convictions and the fact that they

 were on appeal were properly admissible under Federal Rule of Evidence 609(a)(2)

 and (e) and the Defendant’s issue is with the Rule, not the ruling. Furthermore, as

 the Defendant introduced the convictions during direct examination, he waived the

 right to challenge their admission. In addition, a later vacating of convictions is an

 awkward fit for a Rule 33(b) motion and, in any event, as only two, not all four, false

 statement convictions were vacated, the admission, if error, was harmless. Finally,

 the Court rejects the Defendant’s contention that by admitting his statements to the

 officer who arrested him for the false statement charges, the Court committed legal

 error.
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 I.     BACKGROUND1

        A.      False Statement Convictions and Appeal

        On September 15, 2010, in a six-count indictment, a federal grand jury indicted

 Rodney W. Russell for making false statements in connection with a health care

 benefit program. United States v. Russell, 1:10-cr-00149-JAW, Indictment (ECF No.

 3). On April 28, 2011, Rodney Russell was convicted of four counts of making a false

 statement in connection with a health care benefit program, in violation of 18 U.S.C.

 § 1035(a)(2). Id. Jury Verdict (ECF No. 78). On March 9, 2012, Mr. Russell appealed

 his convictions to the Court of Appeals for the First Circuit. Id. Notice of Appeal (ECF

 No. 138).     On August 26, 2013, the First Circuit affirmed Mr. Russell’s four

 convictions. United States v. Russell, 728 F.3d 23 (1st Cir. 2013). On November 11,

 2013, Mr. Russell filed a petition for writ of certiorari with the United States Supreme

 Court. Russell v. United States, 728 F.3d 23 (1st Cir. 2013), petition for cert. filed,

 (U.S. Nov. 11, 2013) (No. 13-7357).

        B.      New Charges and New Convictions

        Meanwhile, on September 14, 2012, a federal grand jury indicted Mr. Russell

 for a separate set of federal crimes, Indictment (ECF No. 2), and on November 13,

 2013, a grand jury issued a superseding indictment against Mr. Russell and other

 Defendants for conspiracy to manufacture 1,000 or more marijuana plants,

 manufacturing 1,000 or more marijuana plants, maintaining a drug-involved place,



 1       The Court’s general ECF docket entry references in this Order are to docket number 1:12-cr-
 00160-JAW-2. If the reference is to an ECF docket entry in 1:10-cr-00149-JAW, which relates to Mr.
 Russell’s false statement convictions, the Court notes it.

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 harboring illegal aliens, and conspiracy to distribute and possess with the intent to

 distribute marijuana. Superseding Indictment (ECF No. 187). The case went to trial

 from January 8, 2014 through January 24, 2014, and on January 24, 2014, a federal

 jury issued a verdict, convicting Mr. Russell of conspiracy to manufacture 1,000 or

 more marijuana plants, manufacturing 1,000 or more marijuana plants, two counts

 of using or controlling a drug-involved premises, three counts of harboring illegal

 aliens, and conspiracy to distribute marijuana. Jury Verdict Form (ECF No. 311).

       C.     False Statements: A Surprising Appellate Turn

       Turning back to the false statement convictions, the petition for writ of

 certiorari took a surprising and unconventional turn. Despite a circuit split, on

 March 10, 2014, the Solicitor General filed a confession of error with the United

 States Supreme Court, effectively conceding that the First Circuit and other similar

 circuits had erred. Br. for the United States in Opp’n, Russell v. United States, 134

 S. Ct. 1872 (2014) (No. 13-7357), 2014 WL 1571932, at *6-19. On April 21, 2014, the

 United States Supreme Court issued the following opinion:

       On petition for writ of certiorari to the United States Court of Appeals
       for the First Circuit. Motion of petitioner for leave to proceed in forma
       pauperis and petition for writ of certiorari granted. Judgment vacated,
       and case remanded to the United States Court of Appeals for the First
       Circuit for further consideration in light of the confession of error by the
       Solicitor General in his brief for the United States filed on March 10,
       2014. Justice Scalia would deny the petition for writ of certiorari.

 Russell v. United States, 134 S. Ct. 1872 (2014).

       D.     The First Circuit Affirms and Vacates the False Statement
              Convictions and this Court Resentences Rodney Russell




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        Following receipt of the Supreme Court mandate, the First Circuit issued an

 order on remand on May 20, 2014. United States v. Russell, 1:10-cr-00149-JAW, J.

 (ECF No. 160). In its Order, the First Circuit concluded that as to Counts 2 and 4 of

 the indictment, the “evidence of ‘bad purpose’ as to those counts is overwhelming and

 so the error is harmless beyond a reasonable doubt.” Id. at 1. As to the convictions

 for Counts 3 and 5, the First Circuit could not “say beyond a reasonable doubt that

 the instructional error was harmless.” Id. The First Circuit therefore affirmed the

 false statement convictions on Counts 2 and 4 and vacated the convictions on Counts

 3 and 5, remanding those counts for further proceedings consistent with its Order.

 Id. at 2.

        Mr. Russell challenged the First Circuit ruling. On June 6, 2014, he filed a

 petition for rehearing en banc; the First Circuit denied that petition on June 20, 2014.

 On July 2, 2014, the First Circuit issued its mandate. United States v. Russell, 1:10-

 cr-00149-JAW, Mandate (ECF No. 173). Mr. Russell filed another petition for writ of

 certiorari with the Supreme Court on September 2, 2014. On October 14, 2014, the

 Supreme Court rejected the new petition for writ of certiorari. Russell v. United

 States, cert. denied, 135 S. Ct. 386 (2014).

        While being resolved at the Supreme Court level, the case continued at district

 court. After receipt of the First Circuit’s Judgment, on July 2, 2014, the Government

 moved to dismiss Counts three and five of the indictment in the false statements case.

 United States v. Russell, 1:10-cr-00149-JAW, Gov’t’s Mot. to Dismiss Counts Three

 and Five of the Indictment (ECF No. 172). On August 20, 2014, the Court granted



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 the Government’s motion. Id. Order (ECF No. 179). On November 13, 2014, after

 the Supreme Court ruled against Mr. Russell on his second petition for writ, this

 Court resentenced Mr. Russell on the remaining two counts, re-imposing the same

 term of incarceration of five months (which Mr. Russell had already served), lowering

 the fine from $5,000.00 to $2,861.00, and reducing the special assessment from

 $400.00 to $200.00. Compare id. J. (ECF No. 136), with Am. J. (ECF No. 185).

        E.     The January 2014 Trial and the False Statement Convictions

               1.     January 22, 2014 Sidebar

        In January 2014, after the First Circuit decision and before the Supreme Court

 remand, Mr. Russell and several other Defendants went to trial on the second set of

 charges. After the Government rested, counsel for Mr. Russell approached sidebar

 and addressed whether, if he testified, he would be subject to impeachment from the

 four prior false statement convictions. Partial Tr. of Proceedings (ECF No. 381)

 (Sidebar Tr.). Knowing that the First Circuit opinion was on appeal, his defense

 counsel objected to impeachment based on those four convictions on the ground that

 “it’s not a final conviction.” Id. 2:18-19.

        Noting that Federal Rule of Evidence 609(e) addresses how to handle an

 appealed conviction, the Court observed that under the Rule, the conviction does not

 have to be final and evidence of the pendency of the appeal would also be admissible.

 Id. 2:20-3:5. Defense counsel asked whether it was just the fact of the convictions

 that would be admissible or whether the facts underlying the convictions would also

 be admissible. Id. 3:15-17. The Court ruled that only the fact of the convictions would



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 be admissible unless Mr. Russell generated further questioning by his testimony. Id.

 3:18-4:4. Mr. Russell elected to testify. Id. 4:10.

              2.        Rodney Russell’s Trial Testimony Regarding the Prior
                        Convictions

       During Mr. Russell’s testimony, defense counsel elicited the following

 regarding prior convictions:

       Q. Now, Mr. Russell, just in the way of background, you’ve been to trial

       once before on another case, correct?

       A. Yes.

       Q. And were you charged with a criminal offense?

       A. Yes.

       Q. And what was the charge?

       A. Um, health insurance fraud for zero dollars.

       Q. And you went through to trial?

       A. Yes.

       Q. And were you convicted for that offense?

       A. Yes.

       Q. And when was that?

       A. Um, April of 2011.

       Q. After that conviction, did you appeal the conviction?

       A. Yes.

       Q. And is that appeal still pending?

       A. Yes, it is.

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       Q. And do you know what court it’s in front of right now?

       A. Um, the appeal is before the Supreme Court.

       Q. It’s not at - - in the Supreme Court. It’s - -

       A. Not yet.

       Q. - - waiting.

       A. Waiting, correct.

 Partial Tr. of Proceedings 44:11-45:8 (ECF No. 364) (Trial Tr.).

       On cross-examination, the prosecutor questioned Mr. Russell about the

 convictions:

       Q. Mr. Russell, the actual offense that you were convicted of was making

       false statements relating to healthcare matters, correct?

       A. Correct.

       Q. All right. And you were convicted of four counts, four false

       statements?

       A. Correct.

 Id. 47:21-48:2. Later during Mr. Russell’s cross-examination, the prosecutor brought

 up the prior convictions again:

       Q. On October - - September 16th, 2010, you were arrested by Special

       Agent Richards on that false statement case - -

       A. Yes.

       Q. - - that we talked about.

       A. Yes.



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       Q. And at the time of your arrest on September 16, 2010, you knew at

       that time that you were a suspect in the Township 37 grow.

       A. I didn’t know that.

       Q. You didn’t know that?

       A. No.

       Q. Okay. When - - I thought that you testified on direct examination

       that when Mr. Richards came to your house in October of 2009 asking

       you about Township 37, you thought, oh, gosh, they’re looking at me for

       this thing now.

       A. I thought it was possible. They had just tackled Scott a couple weeks

       before.

       Q. So in October of 2009, while you didn’t have confirmation, you were

       - - you suspected that maybe you were being looked at for the grow?

       A. It’s possible.

       Q. That’s what you told Mr. Peterson on direct examination, right?

       A. That it’s possible.

       Q. And so in September of 2010 when Mr. Richards contacted you by

       phone and talked to you about having an arrest warrant for you - -

       A. I contacted him, but, yes.

       Q. Well, there was some phone tag going on?

       A. Just one tag, me to him.




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       Q. So he had called Rhonda,2 and then you called him.

       A. Right.

       Q. Okay. When you talked to him on the phone, you told him that you’d

       never talk about your friends.

       A. I told him I would never speak with him, period.

       Q. Okay. You told him that you could be sent to jail for the rest of your

       life and you’d never talk about your friends.

       A. After the way he treated my wife, that’s what I said.

 Id. 78:16-80:3.

 II.   THE PARTIES’ POSITIONS

       A.     Rodney Russell’s Position

       In support of his motion for new trial, Mr. Russell cites a Fourth Circuit case,

 United States v. Russell, 221 F.3d 615 (4th Cir. 2000), in which the circuit court

 vacated a defendant’s conviction where the defendant’s “‘credibility . . . was

 irrevocably undermined by his improper impeachment with . . . two vacated

 convictions.’” Def.’s Mot. to Vacate Conviction and Mot. for New Trial (F.R. Crim. P.

 33(a)) at 3 (quoting Russell, 221 F.3d at 622) (ECF No. 441) (Def.’s Mot.). Mr. Russell

 acknowledges that the two cases are different because the Fourth Circuit case

 involved convictions that had been vacated at the time of trial and this case involved

 convictions under appeal that were later vacated. Id. Nevertheless, Mr. Russell

 argues that “[i]n both cases, the jury was presented with two erroneous convictions.



 2     At the time of the trial Rhonda Russell was Mr. Russell’s wife. Trial Tr. 3:22-4:2.

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 In the first instance, the convictions were erroneous when presented to the jury and

 in the present instance, the convictions became erroneous three months after trial.”

 Id. Mr. Russell points to the Fourth Circuit’s compunctions about admitting evidence

 of prior convictions, worrying that evidence of previous convictions “‘often has a

 prejudicial impact beyond its proper purpose of impeachment.’” Id. (quoting Russell,

 221 F.3d at 622).

       In addition to evidence of the prior, later vacated convictions, Mr. Russell

 complains that the prosecutor “inextricably intertwined those convictions with

 defendant’s guilt by telling the jury that when the Agent executed an arrest warrant

 on that prior matter, the defendant stated he did not want to talk about his friends

 on the present matter and be sent to jail for the rest of his life.” Id. at 5. Mr. Russell

 asserts that the prosecutor “linked the prior convictions, since over-turned, with

 defendant’s guilt on the present matter.” Id.

       Mr. Russell also claims that the prosecutor must have known that the Solicitor

 General had requested “not one but two extensions of time to file a response to

 defendant’s Petition for a Writ of Certiorari,” and therefore, the prosecution “likely

 saw the writing on the wall when creating this risk.” Id.

       B.     The Government’s Opposition

       The Government first argues that evidence of a later vacated conviction is not

 “newly discovered evidence” within the meaning of Rule 33(b). Gov’t’s Objection to

 the Def.’s Mot. for New Trial at 4-7 (ECF No. 454) (Gov’t’s Opp’n). To be newly

 discovered, the evidence, the Government says, “must have been in existence at the



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 time of trial.” Id. at 5. Here, the Government points out, all four convictions were

 still convictions as of the date of trial and events that arise after trial—such as the

 vacating of these convictions—do not constitute newly discovered evidence. Id. at 6-

 8.

        Furthermore, noting that it was defense counsel who elected to present

 evidence of the prior convictions to the jury during direct examination, the

 Government contends that the Defendant may not now complain about his own

 strategic decision. Id. at 6.

        The Government also disputes the applicability of the Fourth Circuit decision

 in United States v. Russell, observing that in the Fourth Circuit case, defense counsel

 had failed to confirm the validity of the convictions and, as it turned out, they had

 been vacated before trial. Id. at 8. As such, the Government argues, the vacated

 convictions should never have been admitted at all at the trial, unlike the case at

 hand. Id.

        Finally, the Government is skeptical that evidence of two, not four, prior false

 statement convictions would have made any difference in the verdicts in this case.

 Id. at 9.

 III.   DISCUSSION

        A.    Admissibility of the Convictions

        Absent the question of the admissibility of appealed convictions, the four

 convictions in this case were clearly admissible for impeachment purposes. Rule

 609(a)(2) provides:



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       (a) In General. The following rules apply to attacking a witness’s
       character for truthfulness by evidence of a criminal conviction:

       (2) for any crime regardless of the punishment, the evidence must be
       admitted if the court can readily determine that establishing the
       elements of the crime required proving—or the witness’s admitting—a
       dishonest act or false statement.

 FED. R. EVID. 609(a)(2). Here, Mr. Russell had been convicted of making a false

 statement in connection with a health care benefit program, in violation of 18 U.S.C.

 § 1035(a)(2). Section 1035(a)(2) provides:

       Whoever, in any matter involving a health care benefit program,
       knowingly and willfully . . . makes any materially false, fictitious, or
       fraudulent statements or representations . . . in connection with the
       delivery of or payment for health care benefits, items, or services, shall
       be fined under this title or imprisoned not more than 5 years, or both.

 18 U.S.C. § 1035(a)(2). A conviction under § 1035(a)(2) for making false statements

 relating to health care matters fits within the provisions of Rule 609(a)(2) providing

 for the mandatory admission of a prior conviction for a false statement. See United

 States v. Payton, 159 F.3d 49, 57 (2d Cir. 1998) (conviction for making sworn false

 statement to government official is “obviously a crime of dishonesty and false

 statement by virtue of its title alone”). Once the prior conviction fits within Rule

 609(a)(2), the Court lacks the discretion to exclude it. Starski v. Kirzhnev, 682 F.3d

 51, 53 (1st Cir. 2012); SEC v. Sargent, 229 F.3d 68, 80 (1st Cir. 2000); United States

 v. Tracy, 36 F.3d 187, 192 (1st Cir. 1994); United States v. Swan, No. 1:12-cr-00027-

 JAW-01, 2013 U.S. Dist. LEXIS 131481, at *12-13 (D. Me. Sept. 9, 2013); United

 States v. Carey, No. CR-08-157-B-W-02, 2009 U.S. Dist. LEXIS 15736, at *4 (D. Me.

 Feb. 26, 2009). Mr. Russell makes no argument to the contrary.



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       B.       Admissibility of Convictions Pending Appeal

       Rule 609(e) addresses the admissibility of a conviction pending appeal:

       A conviction that satisfies this rule is admissible even if an appeal is
       pending. Evidence of the pendency is also admissible.

 FED. R. EVID. 609(e). Under this Rule, evidence of Mr. Russell’s convictions was

 admissible even though the convictions were on appeal. Id. At the same time, the

 fact that the convictions were being challenged on appeal was admissible as well. Id.

 The Advisory Committee on Evidence Rules explained that this part of the Rule is

 based on the “presumption of correctness which ought to attend judicial proceedings.”

 Id. advisory committee’s note (1972 Proposed Rules).          Courts of appeals have

 consistently upheld the admission of appealed convictions so long as the defendant is

 given an opportunity to explain that the convictions are being challenged on appeal.

 See, e.g., In re Slodov, 849 F.2d 610 (6th Cir. 1988); United States v. Klayer, 707 F.2d

 892, 895 (6th Cir. 1983); United States v. Rose, 526 F.2d 745, 747 (8th Cir. 1975); 4

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 FED. EVID. SECOND ED. § 609.03[4] (2d ed. 2014) (WEINSTEIN’S). Here, Mr. Russell

 makes no claim that the Court’s trial ruling failed to comply with the provisions of

 Rule 609(e).

       C.       Vacated Convictions as Grounds for New Trial

       The Court turns to the heart of Mr. Russell’s argument: that later vacating of

 convictions properly admitted at trial for impeachment purposes under Rule 609(a)(2)

 is a ground for a new trial. Mr. Russell offered no caselaw to support this theory and

 the Court found none.

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       The one case Mr. Russell cites for support is the Fourth Circuit case of United

 States v. Russell.    But Russell is inapposite because—unlike this case—the

 convictions used to impeach the defendant in Russell had been vacated at the time of

 trial. This Court has no quarrel at all with the Fourth Circuit’s unassailable view

 that if the prior convictions were vacated at the time of a defendant’s trial, the

 convictions were inadmissible to attack his credibility at trial. But Russell offers no

 authority for Mr. Russell’s next proposition that if the convictions were properly

 admitted at trial, the later vacating of the convictions is grounds for a new trial. At

 bottom, Mr. Russell really just does not like Rule 609(e), which allows for the

 admission of convictions on appeal so long as a defendant is allowed to explain that

 the convictions are not final. But his argument is with the Rule, not the ruling.

       Furthermore, Mr. Russell waived the right to challenge the admissibility of the

 convictions by testifying to them on direct examination. Under Supreme Court

 authority, once an earlier ruling is obtained admitting into evidence a prior

 conviction, if a defendant elects to present evidence of the conviction during direct

 examination, the defendant waives the right to later claim its admission was in error.

 Ohler v. United States, 529 U.S. 753 (2000). In Ohler, the district court granted the

 Government’s motion in limine seeking to admit evidence of a defendant’s prior felony

 conviction as impeachment evidence. Id. at 754. The defendant “testified at trial and

 admitted on direct examination that she had been convicted of possession of

 methamphetamine.” Id.




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       When the defendant challenged the admission of this evidence on appeal, the

 Supreme Court held:

       [W]e conclude that a defendant who preemptively introduces evidence
       of a prior conviction on direct examination may not on appeal claim that
       the admission of such evidence was in error.

 Id. at 760; see also United States v. Gaston, 509 Fed. Appx. 158, 159-60 (3d Cir. 2013)

 (“On direct examination, Gaston preemptively admitted to one of the felony drug

 crimes. Gaston concedes that he has waived the right to object to the introduction of

 this crime”); United States v. Gonzalez-Cavazos, 554 Fed. Appx. 310, 310 (5th Cir.

 2014) (“[A] defendant who preemptively introduces evidence of a prior conviction on

 direct examination may not on appeal claim that the admission of such evidence was

 error”) (internal citations and quotation marks omitted); Clarett v. Roberts, 657 F.3d

 664, 670 (7th Cir. 2011) (“[C]riminal defendants who introduce evidence of their own

 prior convictions in an effort to remove the ‘sting’ forgo the right to appeal the trial

 court’s decision to admit those convictions into evidence”); United States v. El-Alamin,

 574 F.3d 915, 926 (8th Cir. 2009); United States v. Weicks, 362 Fed. Appx. 844, 849

 (9th Cir. 2010); United States v. Wagoner Cnty. Real Estate, 278 F.3d 1091, 1099 (10th

 Cir. 2002); United States v. Young, 574 Fed. Appx. 896, 900 n.4 (11th Cir. 2014); 1

 WEINSTEIN’S § 103.14. The Ohler rule applies here. Mr. Russell elected to admit the

 four convictions during his direct testimony. He has waived the right to claim error

 from the admission of evidence that he presented.




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       In addition, the notion that a later vacated conviction may form the basis of

 the Rule 33(b) motion is at least an awkward fit with the newly-discovered evidence

 requirements of the Rule. See FED. R. CRIM. P. 33(b)

        Finally, even if the Court were to accept Mr. Russell’s view that the admission

 of his later vacated convictions could be error and could be raised by a Rule 33(b)

 motion, the fact is that not all of the convictions were vacated. The First Circuit

 vacated only two of the four false statement convictions and affirmed the remaining

 two. Thus, even if the issue were properly raised, Mr. Russell would still have to

 convince this Court that the admission of evidence of four, not two, false statement

 convictions made a difference in his second trial. The “sting” of the convictions for

 purposes of his credibility was that he had been convicted of making any false

 statements at all. It is difficult to conclude that it mattered whether the number of

 false statement convictions was two or four. Thus, even assuming the introduction

 of evidence of four, not two, convictions was error, which the Court concludes it was

 not, the Court deems any such error to have been harmless.

       D.     The Arrest Evidence

       Mr. Russell does not adequately explain why his testimony about the

 circumstances surrounding his arrest on the false statement case should be

 considered legal error. As noted earlier, Mr. Russell complains that the prosecutor

 “inextricably intertwined those convictions with defendant’s guilt by telling the jury

 that when the Agent executed an arrest warrant on that prior matter, the defendant

 stated he did not want to talk about his friends on the present matter and be sent to



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 jail for the rest of his life.”3 Def.’s Mot. at 5. Mr. Russell further asserts that the

 prosecutor “linked the prior convictions, since over-turned, with defendant’s guilt on

 the present matter.” Id.

        But it was on direct examination that Mr. Russell raised the visit to his home

 in October 2009 by law enforcement, during which they asked questions about the

 Township 37 grow. Trial Tr. 38:6-39:5 (“They wanted to know if I knew anything

 about the Township 37 grow”). Mr. Russell was also asked on direct examination

 about whether Agent Richards, the officer who had come to his home in October 2009,

 ever returned, and he responded that Agent Richards had returned in February 2011.

 Id. 40:19-24 (Q. “[W]ere you visited down there at all by law enforcement?” . . . A.

 “Agent Richards and Agent Weaver came to collect DNA I want to say 2011, February

 2011”).

        On cross-examination, the prosecutor following up this testimony, reminding

 Mr. Russell that Agent Richards actually visited him on September 16, 2010 to arrest

 him on the false statements case. Id. 78:7-20. This line of questioning was not

 objected to, nor should it have been, because it had been opened up by Mr. Russell’s

 testimony on direct examination about his false statement convictions and about the

 October 2009 and February 2011 law enforcement visits. Once Mr. Russell asserted

 to the jury that Agent Richards had visited him in October 2009 and February 2011,


 3       This statement mischaracterizes Mr. Russell’s actual testimony. Mr. Russell agreed with the
 prosecutor’s statement that “[y]ou told him that you could be sent to jail for the rest of your life and
 you’d never talk about your friends.” Trial Tr. 80:1-3. This means that no matter what the
 punishment, he would not implicate his friends. The motion states that he “did not want to talk about
 his friends on the present matter and be sent to jail for the rest of his life.” Def.’s Mot. at 5. This
 means that if he implicated his friends, he might face life imprisonment.


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 the prosecutor had the right to remind him that Agent Richards had actually

 returned to his home in October 2010. Furthermore, it is difficult to understand the

 prejudice; once the jury learned during direct examination that Mr. Russell had been

 convicted of a crime, it would have come as no surprise that he had been arrested for

 it.

        The prosecutor also had the right to follow up on his direct testimony about the

 October 2009 visit by Agent Richards during which he was asked questions about the

 Township 37 grow. The prosecutor asked Mr. Russell whether in October 2009, he

 thought he was being investigated for the Township 37 grow and Mr. Russell

 conceded that he thought it was “possible.” Id. 79:2-14. Then, using the September

 16, 2010 arrest to trigger Mr. Russell’s memory, the prosecutor asked Mr. Russell

 whether—when he spoke with Agent Richards about the false statements arrest

 warrant, he told Agent Richards that he would never talk about his friends. Id. 79:15-

 80:3. Mr. Russell freely acknowledged that he had told Agent Richards that “I would

 never speak with him, period” and Mr. Russell also agreed that he told Agent

 Richards that “[I] could be sent to jail for the rest of [my] life and [I’d] never talk about

 [my] friends.” Id. None of this questioning, either on direct or cross-examination,

 links Mr. Russell’s prior convictions with his guilt for the then-pending charges. The

 prosecutor never suggested that because Mr. Russell committed the false statement

 offenses, he must have committed the pending offenses. Instead, the prosecutor

 clarified a misimpression created by Mr. Russell himself on direct examination about

 the number of meetings he had with Agent Richards and the prosecutor elicited a



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 statement about Mr. Russell’s determined loyalty to his friends for the jury’s

 consideration in evaluating his credibility. None of this evidence was objected to by

 Mr. Russell and none of it should have been, because it was properly admissible.

 IV.   CONCLUSION

       The Court DENIES Defendant Rodney Russell’s Motion to Vacate Conviction

 and Motion for New Trial (ECF No. 441).

       SO ORDERED.

                                        /s/ John A. Woodcock, Jr.
                                        JOHN A. WOODCOCK, JR.
                                        UNITED STATES DISTRICT JUDGE

 Dated this 28th day of January, 2015




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